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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

  NUVASIVE INC,

                                Plaintiff,

  -vs-                                                       Case No. 6:17-cv-2206-Orl-41GJK

  ABSOLUTE MEDICAL LLC
                     Defendants.


   JUDGE                 Gregory J. Kelly,            DATE/TIME        Mar. 13, 2019
                         U.S. Magistrate Judge                         10:14am - 11:04am = 50 mins

   DEPUTY CLERK          Regina Fermer                REPORTER         Heather Jewett
                                                                       heatherjewett.focr@gmail.com

   CNSL/PLTF.(S)         Diana Evans                  CNSL/DEFT.(S)    Bryan E. Busch
                         Marshall McFarland

                                          CLERK’S MINUTES
                                    STATUS HEARING ON DISCOVERY

  Case called, appearances made, procedural setting by Court
  Plaintiff Counsel McFarland addresses Court asking for a schedule
  Court directs Plaintiff Counsel to file timely motion
  Plaintiff Counsel McFarland addresses Court regarding format of evidence. Plaintiff requests evidence
  in native format
  Defense Counsel Busch responds in opposition
  Court responds to Defense that they did not raise objections and Orders Defense to provide the evidence
  in native format
  Plaintiff Counsel addresses Court on additional issue on documents
  Defense Counsel responds in opposition
  Court addresses Counsel and states documents need to be produced designated as attorneys’ eyes only
  Plaintiff Counsel addresses Court on additional issue of documents
  Defense Counsel responds
  Court responds
  Plaintiff Counsel raises final issue
  Defense Counsel responds
  Court addresses Counsel and will enter separate Order on these matters
  Court directs Counsel to file motion if needed
  Court adjourned
